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                                              U.S. Department of Justice
                                                      United States Attorney
                                                      District of Maryland

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                                                     September 13, 2021

VIA ECF

The Honorable George L. Russell III
United States District Judge
101 W. Lombard Street
Baltimore, Maryland

Re:        United States v. Ronald Alexander, GLR-20-267

Dear Judge Russell:

       On September 21, 2021, the Court will sentence Ronald Alexander pursuant to his guilty
plea to Conspiracy to Distribute Controlled Substances, in violation of 21 U.S.C. § 846. The
government believes that a sentence of 135 months of incarceration is sufficient, but no greater
than necessary to achieve the goals of sentencing under 18 U.S.C. § 3553. Alexander distributed
large quantities of fentanyl and heroin at an open-air drug market in Northwest Baltimore despite
being on supervised release for distributing heroin in Baltimore. Despite spending nearly two
decades in federal prison for this conduct, Alexander resumed drug trafficking upon his release
from prison.

        Alexander’s conduct is even more egregious because he ran his drug operation while
serving as a “violence interrupter” for the Safe Streets program in Baltimore. Safe Streets employs
violence interrupters to connect with high-risk individuals to help mediate disputes and prevent
gun violence in Baltimore. Alexander did not use this opportunity to help his community. Instead,
he used his position with Safe Streets as a shield against law enforcement. For example, on August
5, 2020, agents with the Drug Enforcement Administration conducted a traffic stop of Alexander
after he obtained over 100 grams of narcotics from his drug supplier. When agents found the
narcotics, Alexander lied to them, saying that he had taken the narcotics from a young man he was
trying to help as part of his work with Safe Streets. To preserve the integrity of the investigation,
agents did not immediately arrest Alexander. But Alexander believed he had fooled the agents
and proceeded to brag on a wiretapped call that he had scared the police away by citing his
connection with Safe Streets.

        As the Court knows all too well, the drug trade contributes to much of the violence
occurring in Baltimore. This case demonstrates that reality as well. For example, during the
investigation, one of Alexander’s drug distributors was robbed at gunpoint in the middle of the
day at the open-air drug market Alexander controlled. Members of Alexander’s conspiracy,
including Alexander, also illegally possessed firearms to protect themselves. Therefore, an
appropriate sentence in this case should recognize not only the damage Alexander inflicted on his
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community, but also, his corruptive efforts to use the Safe Streets program to further his drug
enterprise.

        The United States Sentencing Guidelines range in this case is a sentence from 135 months
to 168 months of incarceration. The office of United States Probation recommends a sentence of
135 months of incarceration. The government joins in that recommendation. This sentence will
protect the community from Alexander, given his conduct in this case and his prior federal case.
Therefore, the government recommends that the Court impose a sentence of 135 months of
incarceration, followed by the mandatory minimum period of eight years of supervised release.


                                            Respectfully submitted,

                                            Johnathan F. Lenzner
                                            Acting United States Attorney

                                                   /s/
                                    By:     Matthew DellaBetta
                                            Assistant United States Attorney




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